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                        UN ITED STATES DISTR ICT COU RT FO R TH E
                             SOUTHERN DISTRICT OF FLORIDA
                                     M iam iD ivision

                            CaseNum ber:17-22684-CIV-M ORENO

  ROBERT SCHULTZE,

               Plaintiff,
  V S.

  2K CLEV ELAN D ER,LLC,

               Defendant.
                                                     /

           O RDER DENYING M OTION TO TRANSFER AND CONSOLIDATE

         TH IS CAU SE cam e before the C ourt upon D efendant's M otion to Transfer and

  Consolidate(D.E.17),filedonDecember20.2017.
         THE COURT hasconsidered the motion,thepertinentportions ofthe record,and being

  otherwisefully advised in thepremises,itis

         A DJU D G ED thatthe m otion isD EN IED .
                                                                                                   k '-
         DONE AND ORDERED in ChambersatM iam i,Florida,this                                        ofJanuary 2018.
                                                                      .w*rJR            '''

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                                               FEDER O A. ORENO
                                           :'
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                                               UNIT/D STATESDISTRICT JUDGE
  Copiesfurnished to:

  CounselofRecord
